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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 LEAGUE OF UNITED LATIN AMERICAN                  §
 CITIZENS, et al.                                 §
                                                  §
          Plaintiffs,                             §
                                                  §                 Case No. 3:21-cv-00259
 V.                                               §                      [Lead Case]
                                                  §
 GREG ABBOTT, et al.,                             §
                                                  §
          Defendants.                             §

 ROY CHARLES BROOKS, et al.                       §
                                                  §
          Plaintiffs,                             §
                                                  §
 V.                                               §                 Case No. 1:21-cv-00988
                                                  §                  [Consolidated Case]
 GREG ABBOTT, et al.,                             §
                                                  §
          Defendants.                             §

                          DEFENDANTS’ AMENDED EXHIBIT LIST

         Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure and the Court’s Scheduling

Order of December 17, 2021, see ECF 97, Defendants provide the following amended exhibit list for

the hearing on the Brooks Plaintiffs’ preliminary-injunction motion, scheduled for January 25, 2022.

Number           Name                                                     Offered       Admitted


1.               Partisan Shading Map with Racial and Ethnic Data


2.               SD10 Partisan Shading Map – S2100


3.               SD10 Partisan Shading Map – S2168


4.               North Texas Partisan Shading Map – S2100




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Number       Name                                                 Offered   Admitted


5.           SD10 Change in Partisan Population Map


6.           Comparison of S2100 and S2168, Performance of SD10
             in Statewide Elections – 2012 to 2020
7.           Election Analysis – S2100 – 2012 General


8.           Election Analysis – S2100 – 2014 General


9.           Election Analysis – S2100 – 2016 General


10.          Election Analysis – S2100 – 2018 General


11.          Election Analysis – S2100 – 2020 General


12.          Election Analysis – S2168 – 2012 General


13.          Election Analysis – S2168 – 2014 General


14.          Election Analysis – S2168 – 2016 General


15.          Election Analysis – S2168 – 2018 General


16.          Election Analysis – S2168 – 2020 General


17.          SD10 Electoral History – 2002 to 2018


18.          SD10 General Election – 2002 to 2018


19.          Election Analysis – H2100 – 2020 General


20.          Election Analysis – H2316 – 2020 General




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Number    Name                                                  Offered   Admitted


21.       Map Analysis – S2100


22.       Citizen Voting Age Population Data – S2100


23.       Map Analysis – S2168


24.       Senate Population Deviation Map


25.       Governor Abbott Proclamation – Third Called Session


26.       U.S. Census Bureau Redistricting Data


27.       Texas Senate Journal – Third Called Session


28.       Texas House Journal – Third Called Session


29.       Examples of the Senate Adopting Plans Offered by
          Democratic Senators
30.       Senate Redistricting Committee Hearing Notices and
          Attachments
31.       House Redistricting Committee Hearing Notice and
          Attachments
32.       Cancelled House Redistricting Committee Hearings


33.       Selected Images from the Summer 2021 Quorum Break


34.       Expert Report and Declaration of Dr. John R. Alford


35.       EI Voting Analysis – S2100 – 2012 to 2020


36.       EI Voting Analysis – SD10 2014 Democratic Primary




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Number    Name                                                   Offered   Admitted


37.       SD31 Electoral History – 2014 and 2018


38.       HD90 Electoral History – 1996 to 2020


39.       CD33 Electoral History – 2012 to 2020


40.       Texas Tribune Article – Jan. 22, 2019


41.       Texas Tribune Article – June 4, 2021


42.       Texas Tribune Article – Sept. 21, 2021


43.       Texas Tribune Article – Oct. 7, 2021


44.       Amarillo Pioneer Article – Oct. 20, 2021


45.       SD31 Analysis


46.       SD9 Analysis


47.       SD9 Electoral History


48.       Texas Secretary of State – Election Advisory 2021-14


49.       Texas Secretary of State – Election Advisory 2021-18


50.       Texas Secretary of State – Election Advisory 2021-23


51.       Texas Secretary of State – Important Election Dates


52.       Declaration of Director of Elections Keith Ingram




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Number    Name                                                      Offered   Admitted


53.       Declaration of County Judge David Blackburn


54.       Declaration of Collin County Elections Administrator
          Bruce Sherbet
55.       Declaration of Kendall County Elections Administrator
          Staci Decker
56.       Transcript of Senate Redistricting Committee Hearing –
          Sept. 11, 2021
57.       Video of Senate Redistricting Committee Hearing – Sept.
          11, 2021
58.       Transcript of Senate Redistricting Committee Hearing –
          Sept. 24, 2021
59.       Video of Senate Redistricting Committee Hearing – Sept.
          24, 2021
60.       Transcript of Senate Redistricting Committee Hearing –
          Sept. 25, 2021
61.       Video of Senate Redistricting Committee Hearing – Sept.
          25, 2021
62.       Transcript of Senate Redistricting Committee Hearing –
          Sept. 28, 2021
63.       Video of Senate Redistricting Committee Hearing – Sept.
          28, 2021
64.       Transcript of Senate Floor Debate on SB4 – Oct. 4, 2022


65.       Video of Senate Floor Debate on SB4 – Oct. 4, 2022


66.       Transcript of House Redistricting Committee Hearing –
          Oct. 11, 2021
67.       Video of House Redistricting Committee Hearing – Oct.
          11, 2021
68.       Transcript of House Floor Debate on SB4 – Oct. 15,
          2021




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Number         Name                                                          Offered      Admitted


69.            Video of House Floor Debate on SB4 – Oct. 15, 2021


       Defendants reserve the right to use any and all of these exhibits, or those disclosed by the

Brooks Plaintiffs, the right to use and offer into evidence exhibits for impeachment and rebuttal, if

necessary, and the right to amend and/or supplement this exhibit list, including with exhibits disclosed

during the course of third-party discovery.



Date: January 24, 2022                        Respectfully submitted.

KEN PAXTON                                    /s/ Patrick K. Sweeten
Attorney General of Texas                     PATRICK K. SWEETEN
                                              Deputy Attorney General for Special Litigation
BRENT WEBSTER                                 Tex. State Bar No. 00798537
First Assistant Attorney General
                                              WILLIAM T. THOMPSON
                                              Deputy Chief, Special Litigation Unit
                                              Tex. State Bar No. 24088531

                                              OFFICE OF THE ATTORNEY GENERAL
                                              P.O. Box 12548 (MC-009)
                                              Austin, Texas 78711-2548
                                              Tel.: (512) 463-2100
                                              Fax: (512) 457-4410
                                              patrick.sweeten@oag.texas.gov
                                              will.thompson@oag.texas.gov

                                              COUNSEL FOR DEFENDANTS

                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document filed on CM/ECF on

January 24, 2021, and served on all counsel of record through that method.

                                                         /s/ Patrick K. Sweeten
                                                         PATRICK K. SWEETEN




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